                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

                                                )
KIMBERLY LAURA SMITH-BROWN,                     )
Individually and on Behalf of All Others        )      Case No.:
Similarly Situated,                             )
                                                )      Judge:
                      Plaintiff,                )
                                                )
       v.                                       )      JURY TRIAL DEMANDED
                                                )
ULTA BEAUTY, INC.                               )
                                                )
                      Defendant.                )
                                                )

                                   CLASS ACTION COMPLAINT

       Plaintiff Kimberley Laura Smith-Brown (“Plaintiff”), individually and on behalf of all

others similarly situated, upon personal knowledge as to facts pertaining to herself and on

information and belief as to all other matters, by and through her undersigned counsel, brings

this class action complaint against defendant Ulta Beauty, Inc. (“Defendant” or “Ulta”).

                                    NATURE OF THE ACTION

       1.      This consumer class action arises out of Defendant’s practice of misrepresenting

used cosmetics returned to its retail locations as new, and reselling these used products to

unsuspecting consumers.

       2.      Earlier this month, a former Ulta employee disclosed that “whenever a customer

would return a product, [Ulta employees] were told by managers to repackage / reseal the item

and put it back on the shelf.” According to this former employee, Ulta would restock and resell

used cosmetics, among many other products.




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       3.      After this whistleblower publicized her allegations on Twitter, dozens of other

current and former Ulta employees from retail locations all over the country confirmed that

substantially similar practices also occurred at the Ulta stores where they worked. Indeed, many

Ulta employees commented that they would not shop at Ulta as a result of these unsanitary

practices.

       4.      Despite the widespread internal knowledge of these deceptive, unfair and

unsanitary practices, Ulta has continued to deceive consumers for years, repackaging, restocking

and reselling used beauty products including cosmetics at full price as if they were new.

       5.      As a result of Defendant’s deceptive and unfair practices, Plaintiff and the other

Class members did not receive that which was promised. Had they known of Defendant’s policy

and practice of repackaging, restocking and reselling used cosmetics, Plaintiff and the other

members of the Class would have paid less for the cosmetics they purchased or would not have

purchased them at all.

       6.      While this case is solely about the financial damage Defendant has caused to

Plaintiff and the Class, Ulta’s practice of restocking and selling used cosmetics as new to

unsuspecting consumers put the health of Plaintiff and other members of the Class at risk.

       7.      Accordingly, Plaintiff brings this action on behalf of herself and all other similarly

situated consumers to recover the amounts Plaintiff and the other Class members overpaid, to

prevent Defendant from continuing to engage in its unlawful, deceptive, unfair, and unsanitary

conduct, and to correct the false perception it has created in the marketplace through its

misrepresentations and omissions of material facts.




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                                 JURISDICTION AND VENUE

        8.     The Court has original subject matter jurisdiction over the case under 28 U.S.C.

§ 1332(d) because the case is brought as a class action under Fed. R. Civ. P. 23, at least one

proposed Class member is of diverse citizenship from Defendant, the proposed Class includes

more than 100 members, and the aggregate amount in controversy exceeds five million dollars,

excluding interest and costs.

        9.     Venue is proper in this District under 28 U.S.C. § 1391 because Defendant

engaged in substantial conduct relevant to Plaintiff’s claims within this District, has its principal

place of business in this District, and has caused harm to Class members residing within this

District.

                                             PARTIES

        10.    Plaintiff Kimberley Laura Smith-Brown (“Smith-Brown”) is a citizen of the State

of California, residing in Sherman Oaks neighborhood of Los Angeles, California. Smith-Brown

regularly purchased cosmetics at Ulta, including eye liner and mascara. During the past six

months, Smith-Brown purchased dozens of cosmetic items at an Ulta store in Sherman Oaks,

California, most recently lip balm on December 22, 2017. Further, in October 2017, Smith-

Brown purchased lip liner, liquid eyeliner, and two types of lip gloss. Smith-Brown purchased

the products believing that all of the items on the shelf were unused.

        11.    Defendant Ulta Beauty, Inc. is a Delaware corporation headquartered in

Bolingbrook, Illinois. Accordingly, Defendant is a citizen of Illinois and Delaware. Defendant

describes itself as the largest beauty retailer in the United States and the premier beauty

destination for cosmetics, fragrance, skin care products, hair care products, and salon services.




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                                   FACTUAL ALLEGATIONS

          12.   Ulta was founded in 1990 and, as of October 28, 2017, operates 1,058 retail stores

across 48 states and the District of Columbia, in addition to distributing products through its

website. Ulta offers “All Things Beauty, All in One Place,” selling more than 20,000 products

from approximately 500 well-established and emerging beauty brands across all categories and

price points, including its own private label. Customers are encouraged to sign up for the

“Ultamate Rewards” program, earning points that are connected to each customer’s unique

member number, which they can then redeem on any of Ulta’s more than 20,000 products. Ulta

also offers a full-service salon – featuring hair, skin, and brow services – in every store.

          13.   Ulta has been described as one of the cosmetics stores with the “best return

policy.” Customers may return products to Ulta stores if they are not 100% satisfied for any

reason.

          14.   On January 9, 2018, a former Ulta employee revealed a dark secret about the

beauty giant. According to this employee, who posted her allegations to Twitter using the handle

@fatinamxo, used products returned to Ulta are made to “look new” – but not sanitized – and put

back on the shelf to sell to unsuspecting customers. Providing just a handful of examples,

@fatinamxo posted the pictures below of used foundation sticks and liquid lipsticks, which Ulta

repackaged to be sold as if they were new.




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       15.     This former employee has claimed that Ulta staff members were trained to

“restore” products, and that managers kept a close eye on whether “items in the damage bin []

looked resell able [sic].” According to @fatinamxo, Ulta managers “even taught [employees]

how to clean eyeshadow [sic] palettes and let it dry over night [sic] so it can be repackaged and

sold the next day.”

       16.     @fatinamxo also claims that she contacted Ulta corporate, and was surprised

when she was told only that the company “definitely want[s] to be hygienic” when it comes to

mascara. After clarifying that Ulta is “reselling everything that they can clean up and make

‘new’ again,” @fatinamxo was told that someone from corporate would look into the situation.

       17.     @fatinamxo says she shared her experience because she thought “makeup lovers

should know what’s going on behind closed doors.”




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       18.     Creating a social media frenzy, @fatinamxo’s allegations prompted responses

from other Ulta employees from different locations, many of whom divulged similar practices

taking place at the stores where they worked.1




1
 All pictures reproduced herein are screenshots, which have been copied exactly as they appear online.
Any words or images that have been crossed out or otherwise altered were in the original.

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       19.     Many employees disclosed that, even when they tried to push back against these

“disgusting” policies, managers would insist that “resellable” products be put back on the

shelves:




       20.     While @fatinamxo thought these practices were only occurring at her store,

within one day of posting her story on Twitter, she had received messages from current and

former Ulta employees from stores throughout the country – including California, Washington,

Texas, Florida, Michigan, South Carolina, Wisconsin, and Ohio – all of whom confirmed that

similar practices occurred in those locations. The list continues to grow.




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       21.     One Twitter user responded that she had worked at three different Ulta locations,

all of which resold used products:




       22.     Other employees have contacted media outlets with similar stories. For example,

a former manager from an Ulta location in Ohio reached out to Business Insider, claiming that

“there was often pressure to sell used products.” According to this manager, who wished to

remain anonymous:

       Our bosses constantly told us if it looked like it could be sold, put it back out. The
       company always had a percentage they wanted you to stay below weekly in what we


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       damaged. We would literally get lectured by our boss on our conference calls if our
       stores were over.

       23.     This manager admitted that cleaning used cosmetics had been discussed and he

told Business Insider that “returned mascara and foundation were almost always placed back on

the shelf since it was difficult to tell if they were used, and his staff would clean bottled products

to make them look like new again.” When items like shampoo or lotion were returned, Ulta

employees “would wipe out the spout and turn the pump cap back down.”

       24.     Another former Ulta employee, who worked at a store in Rock Hill, South

Carolina, told Business Insider that “[i]f there was 80% or more left in the bottle” of used hair-

care and skin-care products, Ulta employees would put the bottle back on the shelf.

       25.     At least one Ulta employee claimed that these practices led her to shop at one of

Ulta’s primary competitors, even when she worked for the company:




       26.     Another Ulta employee stated that she will “only buy product straight from the

shipment truck” because the Ulta location where she works also sells used products:




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       27.    Even employees who claim that their Ulta stores “avoided selling used products”

stated that “unused products in good condition were fair game.” However, it is unclear how

employees determined that returned products were unused. Although it may be obvious when

certain products have been used, with products like mascara and foundation, where it is difficult

to tell if they have been used, it appears that the test may just be whether the product “looked

‘sellable.’” According to one former Ulta employee, employees would always “play[] the

guessing game” to determine whether a product was “overly used.”




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       28.    Multiple employees claim that the practices described by @fatinamxo and others

were created by complaints from management that the stores were “damaging too much

product.” As alluded to below, given Ulta’s extremely liberal return policy, damaging returned

products rather than putting them back on the shelves would have cost Ulta a lot of money.




       29.    Even if a particular employee attempted to “damage” a product when it was

returned, some managers would still put the used products back on the shelves:




       30.    As these allegations have spread, increasing numbers of outraged Ulta customers

have been demanding answers and threatening to take their business elsewhere:

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       31.     Some customers have even claimed that Ulta employees admitted that returned

items would be resold.




       32.     Moreover, according to both Twitter posts made in response to @fatinamxo’s

allegations and posts in response to a Reddit user asking Ulta employees “what happens to the

returns that people bring back,” it appears that this practice has been going on for quite some

time – and that Ulta has been aware of the issue for at least three years:




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       33.     Ulta’s widespread and surreptitious practice of repackaging, restocking, and

commingling used returned cosmetics with new cosmetics on its shelves means that every sale of

cosmetics since Ulta began this policy is tainted with the possibility that the customer is

purchasing used, dirty cosmetics. For example, if a medical company found its employees were

repackaging and commingling used hypodermic needles with batches of new, sterile needles

offered for sale, then none of those needles would be safe to use and the only solution that could

protect customers would be to dispose of every possibly adulterated lot.

       34.     As a result of Ulta’s practice of reselling used and returned cosmetics, every

customer who has purchased cosmetics at Ulta since this practice began was put at risk of

unwittingly purchasing used, unsanitary cosmetics and this risk reduces the desirability and value

of all cosmetics sold by Ulta regardless if the cosmetics were new or used. Had Plaintiff and the

Class members known of this practice, Plaintiff and Class members would not have purchased

cosmetics from Ulta or would have paid less for them.

                                        CLASS ALLEGATIONS

       35.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23(b)(2) and

(b)(3), on behalf of a Class defined as follows (sometimes referred to as the “Nationwide

Class”):

       All persons in the United States and its territories who purchased, other than for
       resale, cosmetics from Ulta Beauty retail locations.

       Excluded from the Class are: (i) Defendant and its officers and directors, agents,

affiliates, subsidiaries, and authorized distributors and dealers; (ii) all Class members that timely

and validly request exclusion from the Class; and (iii) the Judge presiding over this action. The

claims also do not include personal injury claims.

       36.     Alternatively, Plaintiff brings this case as a class action pursuant to Fed. R. Civ.

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P. 23(b)(2) and (b)(3) on behalf of the following subclass:


        All persons who purchased, other than for resale, in the State of California,
        cosmetics from Ulta Beauty retail locations.

        Excluded from the subclass are: (i) Defendant and its officers and directors, agents,

affiliates, subsidiaries, and authorized distributors and dealers; (ii) all subclass members that

timely and validly request exclusion from the subclass; and (iii) the Judge presiding over this

action. The claims do not include personal injury claims. The subclass is sometimes referred to

as the California Subclass.     The Nationwide Class and California Subclass are sometimes

collectively referred to as the “Class”.

        37.     Certification of Plaintiff’s claims for class-wide treatment is appropriate because

Plaintiff can prove the elements of her claims on a class-wide basis using the same evidence as

would be used to prove those elements in individual actions alleging the same claims.

        38.     The members of the Class are so numerous that joinder of the Class members

would be impracticable.

        39.     Common questions of law and fact exist as to all Class members and predominate

over questions affecting only individual Class members. Such common questions of law or fact

include, inter alia:

        A.      Whether Defendant engaged in the conduct alleged;

        B.      Whether Defendant misrepresented used cosmetics as new cosmetics;

        C.      Whether Plaintiff and the Class members paid for a product that they did
                not receive;

        D.      Whether Plaintiff and the Class members have been damaged and, if so,
                the measure of such damages;

        E.      Whether Defendant unjustly retained a benefit conferred by Plaintiff and
                the Class members; and

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       F.      Whether Plaintiff and the Class members are entitled to equitable relief,
               including, but not limited to, a constructive trust, restitution, and
               injunctive relief.

       40.     Plaintiff’s claims are typical of the claims of the Class members because, among

other things, Plaintiff and the Class members were injured through the substantially uniform

misconduct described above. Plaintiff is advancing the same claims and legal theories on behalf

of herself and all Class members.

       41.     Plaintiff is an adequate Class representative because her interests do not conflict

with the interests of the other Class members she seeks to represent; she has retained counsel

competent and experienced in complex commercial and class action litigation; and Plaintiff

intends to prosecute this action vigorously. The interests of the Class members will be fairly and

adequately protected by Plaintiff and her counsel.

       42.     A class action is also warranted under Fed. R. Civ. P. 23(b)(2), because Defendant

has acted or refused to act on grounds that apply generally to the Class, so that final injunctive

relief or corresponding declaratory relief is appropriate as to the Class as a whole. Defendant has

directed and continues to direct its conduct to all consumers in a uniform manner. Therefore,

injunctive relief on a class-wide basis is necessary to remedy continuing harms to Plaintiff and

the Class members caused by Defendant’s continuing misconduct.

       43.     A class action is superior to any other available means for the fair and efficient

adjudication of this controversy, and no unusual difficulties are likely to be encountered in the

management of this class action. The damages or other detriment suffered by Plaintiff and the

Class members are relatively small compared to the burden and expense that would be required

to individually litigate their claims against Defendant, so it would be impracticable for Class

members to individually seek redress for Defendant’s wrongful conduct. Even if Class members

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could afford individual litigation, the court system should not be required to undertake such an

unnecessary burden. Individualized litigation would also create a potential for inconsistent or

contradictory judgments and increase the delay and expense to all parties and the court system.

By contrast, the class action device presents far fewer management difficulties and provides the

benefits of a single adjudication, economies of scale, and comprehensive supervision by a single

court.

                                     CLAIMS FOR RELIEF

                                  FIRST CLAIM FOR RELIEF
                                       Unjust Enrichment
                                (On Behalf of the Nationwide Class)

         44.    Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 43

as if fully set forth herein.

         45.    Defendant has been unjustly enriched to Plaintiff’s and the Class members’

detriment as a result of its unlawful and wrongful retention of money conferred by Plaintiff and

the Class members who were unaware of the risk that the cosmetics they purchased from

Defendant may have been used, such that Defendant’s retention of their money would be

inequitable.

         46.    Defendant’s unlawful and wrongful acts, including reselling used cosmetics as if

they were new, as alleged above, enabled Defendant to unlawfully receive monies it would not

have otherwise obtained.

         47.    Plaintiff and the Class members have conferred benefits on Defendant, which

Defendant has knowingly accepted and retained.

         48.    Defendant’s retention of the benefits conferred by Plaintiff and the Class members

would be against fundamental principles of justice, equity, and good conscience.



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        49.     Plaintiff and the Class members seek to disgorge Defendant’s unlawfully retained

profits and other benefits resulting from its unlawful conduct, and seek restitution and rescission

for the benefit of Plaintiff and the Class members.

        50.     Plaintiff and the Class members are entitled to the imposition of a constructive

trust upon Defendant, such that its unjustly retained profits and other benefits are distributed

equitably by the Court to and for the benefit of Plaintiff and the Class members.

                                SECOND CLAIM FOR RELIEF
                   Violation of California Unfair Competition Law (“UCL”),
                    California Business & Professions Code § 17200, et seq.
                             (On Behalf of the California Subclass)

        51.     Plaintiff repeats and realleges the allegations set forth in paragraphs 1 through 43

as if fully set forth herein.

        52.     The Unfair Competition Law, Business & Professions Code §§ 17200, et seq.,

prohibits any unlawful, fraudulent, or unfair business act or practice and any false or misleading

advertising.

        53.     In the course of conducting business, Defendant committed unlawful business

practices by, among other things, making representations (which also constitute advertising

within the meaning of § 17200) and omitted material facts regarding the products it sells, as set

forth more fully herein, that the products on its store shelves were unused when in fact

previously used products were routinely reshelved without any disclosure. Defendant’s conduct

constitutes the adulteration of products, as prohibited by the Federal Food, Drug, and Cosmetic

Act, 21 U.S.C. § 361, because it introduced into interstate commerce adulterated products. This

conduct constitutes violations of the unlawful prong of Section 17200.

        54.     In the course of conducting business, Defendant committed unfair business

practices by, among other things, making misrepresentations (which also constitute advertising

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within the meaning of § 17200) and omitting material facts regarding its products, as detailed

above. There is no societal benefit from false advertising, only harm. Plaintiff and the other

Class members paid for lower value products that were not what they purported to be. While

Plaintiff and the other Class members were harmed, Defendant was unjustly enriched by its false

misrepresentations and omissions. As a result, Defendant’s conduct is unfair, as it offended an

established public policy. Further, Defendant engaged in immoral, unethical, oppressive, and

unscrupulous activities that are substantially injurious to consumers.

       55.     Defendant’s conduct violated consumer protection, unfair competition, and truth

in advertising laws in California and other states, resulting in harm to consumers. Defendant’s

acts and omissions also violate and offend the public policy against engaging in false and

misleading advertising, unfair competition, and deceptive conduct towards consumers. This

conduct violates the unlawful prong of Section 17200.

       56.     There were reasonably available alternatives to further Defendant’s legitimate

business interests, other than the conduct described herein.

       57.     Plaintiff relied on Defendant’s material misrepresentations and omissions, which

are described above.     Plaintiff has suffered injury in fact and lost money as a result of

Defendant’s unlawful, unfair, and fraudulent practices.

       58.     Unless restrained and enjoined, Defendant will continue to engage in the above-

described conduct in violation of Section 17200, entitling Plaintiff and the other Class members

to injunctive relief.   If Defendant continues to engage in the violations of Section 17200

described above, Plaintiff will likely be deceived in the future when she shops for Defendant’s

products, not knowing the true facts.




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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

respectfully requests that the Court enter judgment in her favor and against Defendant as follows:

       A.      Certifying the Class under Federal Rule of Civil Procedure 23, as requested
               herein;

       B.      Appointing Plaintiff as Class Representative and Plaintiff’s Counsel as Class
               Counsel;

       C.      Awarding Plaintiff and the Class members damages and/or equitable relief as
               appropriate;

       D.      Awarding Plaintiff and the Class members declaratory and injunctive relief;

       E.      Awarding Plaintiff and the Class members restitution and disgorgement;

       F.      Imposing a constructive trust for the benefit of Plaintiff and the Class members on
               the unjustly retained benefits conferred by Plaintiff and the Class members upon
               Defendant;

       G.      Awarding Plaintiff and the Class members reasonable attorneys’ fees, costs, and
               expenses; and

       H.      Granting such other relief as the Court deems just and appropriate.

                                    JURY TRIAL DEMAND

       Plaintiff, individually and on behalf of all others similarly situated, hereby requests a jury

trial, pursuant to Federal Rule of Civil Procedure 38, on all claims so triable.


DATED: January 26, 2018                               by: s/ Theodore B. Bell
                                                      WOLF HALDENSTEIN ADLER
                                                        FREEMAN & HERZ LLC
                                                      Theodore B. Bell
                                                      Carl V. Malmstrom
                                                      70 West Madison Street, Suite 1400
                                                      Chicago, Illinois 60602
                                                      Tel.: (312) 984-0000
                                                      Fax: (312) 212-4401
                                                      tbell@whafh.com
                                                      malmstrom@whafh.com

                                                 20
                    WOLF HALDENSTEIN ADLER
                     FREEMAN & HERZ LLP
                    Janine L. Pollack
                    Correy A. Kamin
                    270 Madison Avenue
                    New York, New York 10016
                    Tel.: (212) 545-4600
                    Fax: (212) 686-0114
                    pollack@whafh.com
                    kamin@whafh.com

                    MCLAUGHLIN & STERN LLP
                    Lee S. Shalov
                    260 Madison Avenue
                    New York, New York 10016
                    Tel.: (212) 448-1100
                    Fax: (212) 448-0066
                    lshalov@mclaughlinstern.com

                    Counsel for Plaintiff and the Proposed
                    Classes




whafhch55305




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